EDTN     Judgment in a Criminal Case (Rev. 1/12)
         Sheet 1



                                       United States District Court
                                                   Eastern District of Tennessee

          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                      v.                                                  (For Offenses Committed On or After November 1, 1987)
               SARA M. BREWER
                                                                          Case Number:           2:13-CR-016-6
             A.K.A. SARA PARLIER
                                                                          Robert R. Kurtz
                                                                          Defendant’s Attorney

THE DEFENDANT:
[T]      pleaded guilty to Count 8 of the Indictment.
[]       pleaded nolo contendere to count(s)       which was accepted by the court.
[]       was found guilty on count(s)      after a plea of not guilty.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense:

                                                                                                 Date Offense                 Count
Title & Section                         Nature of Offense                                        Concluded                    Number

21 U.S.C. § 843(a)(6)                   Possession of Equipment, Chemicals, Products and         February 12, 2013            8
                                        Materials Used to Manufacture Methamphetamine


        The defendant is sentenced as provided in pages 2 through 5 of this judgment and the Statement of Reasons. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984 and 18 U.S.C. §3553.

[]       The defendant has been found not guilty on count(s)       .

[T]      The remaining count as to this defendant in this case is dismissed on the motion of the United States.

         IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant shall notify the court and the United States attorney of any material change in the
defendant’s economic circumstances.

                                                                                                         January 9, 2014
                                                                       Date of Imposition of Judgment


                                                                                                        s/ Leon Jordan
                                                                       Signature of Judicial Officer


                                                                                     LEON JORDAN, United States District Judge
                                                                       Name & Title of Judicial Officer


                                                                                                        January 9, 2014
                                                                       Date




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EDTN Judgment in a Criminal Case (Rev. 3/04)
     Sheet 4 — Probation
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DEFENDANT:                SARA M. BREWER
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CASE NUMBER:              2:13-CR-016-6

                                                                 PROBATION
The defendant is hereby placed on probation for a term of 2 years .




The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests thereafter, as determined by the
court.

[]     The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future substance
       abuse. (Check, if applicable.)

[T]    The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)

[T]    The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

[]     The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a student, as
       directed by the probation officer. (Check, if applicable.)

[]     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation, it shall be a condition of probation that the defendant pay any such fine or restitution in
accordance with the Schedule of Payments set forth in the Criminal Monetary Penalties sheet of this judgment.

The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant shall also comply
with the additional conditions on the attached page.


                                      STANDARD CONDITIONS OF SUPERVISION

 1)   the defendant shall not leave the judicial district without permission of the court or probation officer;
 2)   the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each
      month;
 3)   the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
 4)   the defendant shall support his or her dependants and meet other family responsibilities;
 5)   the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
      reasons;
 6)   the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
 7)   the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance
      or any paraphernalia related to any controlled substances, except as prescribed by a physician;
 8)   the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
 9)   the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
      unless granted permission to do so by the probation officer;
10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
      contraband observed in plain view of the probation officer;
11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
      the court;
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record
      or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's
      compliance with such notification requirement.




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EDTN Judgment in a Criminal Case (Rev. 3/04)
    Sheet 4A - Probation
                                                                                                                  Judgment - Page 3 of 5
DEFENDANT:               SARA M. BREWER
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                                     SPECIAL CONDITIONS OF SUPERVISION
1. The defendant shall participate in a program of testing and/or treatment for drug and/or alcohol abuse, as directed by the probation
   officer, until such time as she is released from the program by the probation officer.

2. The defendant shall not take any prescribed narcotic drug without notifying the physician that she has a substance abuse problem
   and without permission from your probation officer.

3. The defendant shall participate in a program of mental health treatment, as directed by the probation officer, until such time as she is

   released from the program by the probation officer. The defendant shall waive all rights to confidentiality regarding mental health
   treatment in order to allow release of information to the supervising United States Probation Officer and to authorize open
   communication between the probation officer and the mental health treatment provider.

4. The defendant shall pay any financial penalty that is imposed by this judgment. Any amount that remains unpaid at the
   commencement of the term of supervised release shall be paid on a monthly basis at the amount of at least 10% of your net monthly
   income.

5. The defendant shall provide the probation officer with access to any requested financial information.

6. The defendant shall not incur new credit charges or apply for additional lines of credit without permission of the probation officer
   until any financial penalty has been paid in full. In addition, she shall not enter into any contractual agreements which obligate
   funds without permission of the probation officer.




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EDTN Judgment in a Criminal Case (Rev.3/04)
     Sheet 5 — Criminal Monetary Penalties
                                                                                                                                             Judgment — Page 4 of 5
DEFENDANT:                  SARA M. BREWER
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                                              CRIMINAL MONETARY PENALTIES
  The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of payments set forth on
Sheet 6. The assessment is ordered in accordance with 18 U.S.C. § 3013.

                                                            Assessment                              Fine                           Restitution
      Totals:                                                $ 100.00                            $ 5,000.00                          $ 0.00


[]    The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be entered after
      such determination.

[]    The defendant shall make restitution (including community restitution) to the following payees in the amounts listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
      otherwise in the priority order or percentage payment column below. However, if the United States is a victim, all other victims,
      if any, shall receive full restitution before the United States receives any restitution, and all restitution shall be paid to the victims
      before any restitution is paid to a provider of compensation, pursuant to 18 U.S.C. §3664.

                                                                                                                                 Priority Order
                                                            *Total                             Amount of                         or Percentage
Name of Payee                                            Amount of Loss                    Restitution Ordered                    of Payment



TOTALS:                                                      $                                    $


[]      If applicable, restitution amount ordered pursuant to plea agreement $

        The defendant shall pay interest on any fine or restitution of more than $2500, unless the fine or restitution is paid in full before
        the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §3612(f). All of the payment options on Sheet 6 may be
        subject to penalties for delinquency and default, pursuant to 18 U.S.C. §3612(g).

[T]     The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

        [T] The interest requirement is waived for the [T] fine and/or [ ] restitution.

        [ ] The interest requirement for the            [ ] fine and/or       [ ] restitution is modified as follows:




* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United States Code, for offenses committed on or after
September 13, 1994 but before April 23, 1996.
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EDTN Judgment in a Criminal Case (Rev. 3/04)
     Sheet 6 — Schedule of Payments
                                                                                                                                  Judgment — Page 5 of 5
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                                                     SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A     [T] Lump sum payment of $ 5,100.00 due immediately, balance due

            [ ] not later than , or
            [ ] in accordance with [ ] C, [ ] D, or [ ] E or [ ] F below; or

B     []    Payment to begin immediately (may be combined with [ ] C, [ ] D, or [ ] F below); or

C     []    Payment in       (e.g., equal, weekly, monthly, quarterly) installments of $   over a period of (e.g., months or years), to commence
            (e.g., 30 or 60 days) after the date of this judgment; or

D     []    Payment in       (e.g., equal, weekly, monthly, quarterly) installments of $ over a period of (e.g., months or years), to commence
            (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E     []    Payment during the term of supervised release will commence within 0 (e.g., 30 or 60 days) after release from imprisonment. The court
            will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     [T] Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes a period of imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. Unless otherwise directed by the court, the probation officer, or the United States attorney, all criminal monetary penalties,
except those payments made through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, shall be made to U.S. District Court, 220
W. Depot St., Suite 200, Greeneville, TN 37743. Payments shall be in the form of a check or a money order, made payable to U.S. District Court, with
a notation of the case number including defendant number.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.


[]    Joint and Several

      Defendant Name, Case Number, and Joint and Several Amount:



[]    The defendant shall pay the cost of prosecution.

[]    The defendant shall pay the following court cost(s):

[]    The defendant shall forfeit the defendant’s interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) community
restitution, (6) fine interest (7) penalties, and (8) costs, including cost of prosecution and court costs.
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